
Appeal from a judgment (denominated decision and order) of the Supreme Court, Onondaga County (Donald A. Greenwood, J.), entered March 7, 2013. The judgment, among other things, denied the motion of defendant for summary judgment dismissing the complaint and granted the cross motion of plaintiff for partial summary judgment on the second cause of action seeking declaratory relief.
It is hereby ordered that the judgment so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court. Present — Smith, J.E, Fahey, Lindley, Sconiers and Whalen, JJ. [Prior Case History: 40 Misc 3d 1205(A), 2013 NY Slip Op 51041(U).]
